Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 1 of 28 PageID: 59




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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,                        C.A. NO. 2:23-CV-01488-ES-AME

                   Plaintiff,         JURY TRIAL DEMANDED
    v.
                                      PATENT CASE
 PERVASIVE GROUP, INC.,

                   Defendant.

 PERVASIVE GROUP, INC.’S MOTION TO DISMISS FOR FAILURE TO
    STATE A CLAIM AND MEMORANDUM OF LAW IN SUPPORT
 Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 2 of 28 PageID: 60




                                         TABLE OF CONTENTS

I.   NATURE AND STAGE OF PROCEEDINGS ..................................................1

II. SUMMARY OF THE ARGUMENT .................................................................1

III. STATEMENT OF FACTS .................................................................................3

IV. ARGUMENT ......................................................................................................5

        A.       Legal Standard ....................................................................................... 5

                 1.       This Case Should Be Disposed of Under Rule 12(b)(6)............. 5
                 2.       The Law of 35 U.S.C. § 101 ....................................................... 7
        B.       The ’365 Patent is Invalid Under 35 U.S.C. § 101. .............................. 9

                 1.       Alice Step 1: The claims are directed to an abstract idea. .......... 9
                 2.       Alice Step 2: The claims do not contain an inventive
                          concept amounting to significantly more than the abstract
                          idea. ........................................................................................... 17

                 3.       The remaining claims are dependent on Claim 1 and are
                          also abstract ............................................................................... 21

V. CONCLUSION .................................................................................................22




                                                            ii
 Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 3 of 28 PageID: 61




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)
Cases

Affinity Labs of Tex., LLC v. DIRECTV, LLC,
   838 F.3d 1253 (Fed. Cir. 2016) .......................................................................... 13
Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
   134 S. Ct. 2347 (2014) .................................................................................passim

Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
  687 F.3d 1266 (Fed. Cir. 2012) ...................................................................... 7, 20

Berkheimer v. HP Inc.,
   881 F.3d 1360 (Fed. Cir. 2018) .......................................................................... 20
Bilski v. Kappos,
   561 U.S. 593 (2010) ..................................................................................6, 7, 8, 9

buySAFE, Inc. v. Google, Inc.,
   765 F.3d 1350 (Fed. Cir. 2014) .......................................................................... 19

Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
  776 F.3d 1343 (Fed. Cir. 2014) .......................................................................... 10

CyberSource Corp. v. Retail Decisions, Inc.,
  654 F.3d 1366 (Fed. Cir. 2011) ............................................................................ 8
DDR Holdings, LLC v. Hotels.com, L.P.,
  773 F.3d 1245 (Fed. Cir. 2014) .......................................................................... 11

Diamond v. Chakrabarty,
   447 U.S. 303 (1980) .............................................................................................. 7

Diamond v. Diehr,
   450 U.S. 175 (1981) .............................................................................................. 8

Elec. Power Grp., LLC v. Alstom S.A.,
   830 F.3d 1350 (Fed. Cir.2016) ........................................................................... 14
Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016) ....................................................................11, 12

                                                     iii
 Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 4 of 28 PageID: 62




Ericsson Inc. v. TCL Commc'n Tech. Holdings,
   955 F.3d 1317 (Fed. Cir. 2020) .......................................................................... 14
Fort Props., Inc. v. Am. Master Lease LLC,
  671 F.3d 1317 (Fed. Cir. 2012) ............................................................................ 8

Intellectual Ventures I LL v. Capital One Bank U.S.A.,
   792 F.3d 1363 (Fed. Cir. 2015) .......................................................................... 20

Internet Patents Corp. v. Active Network, Inc.,
   790 F.3d 1343 (Fed. Cir. 2015) ..............................................................11, 13, 22

Joao Control & Monitoring Sys., LLC v. Telular Corp.,
   173 F. Supp. 3d 717, 2017 WL 1151052 (N.D. Ill. 2016) ................................. 15

Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc.,
   66 F. Supp. 3d 829 (E.D. Tex. 2014) .................................................................. 13
MacroPoint, LLC v. FourKites, Inc.,
  No. 15–cv–1002, 2015 WL 6870118 (N.D. Ohio Nov. 6, 2015), aff’d, 671 Fed.
  Appx. 780 ............................................................................................................ 16

Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
  132 S. Ct. 1289 (2012) .......................................................................................... 8

McCracken v. Wells Fargo Bank Na,
  634 F. App’x 75 (3d Cir. 2015) ............................................................................ 6

Parker v. Flook,
  437 U.S. 584 (1978) .............................................................................................. 8

Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
  No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017)........ 10

Rothschild Location Techs. LLC v. Geotab USA, Inc.,
   No. 6:15-cv-682, 2016 WL 3584195 (E.D. Tex. Jan. 4, 2016) .......................... 18

Secured Mail Solutions LLC v. Universal Wilde, Inc.,
   873 F.3d 905 (Fed. Cir. 2017) ............................................................................ 15

Simio LLC v FlexSim Software Products Inc.,
   2020 WL 7703014 (Fed. Cir. Dec. 29, 2020) ....................................................... 6



                                                       iv
 Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 5 of 28 PageID: 63




In re TLI Commc’ns LLC Patent Litig.,
    823 F.3d 607 (Fed. Cir. 2016) ..................................................................2, 15, 19
In re TLI,
    87 F. Supp. 3d 773 .............................................................................................. 18

Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC,
  874 F.3d 1329 (Fed. Cir. 2017) ..............................................................15, 16, 19

Ulferts v. Franklin Res., Inc.,
   554 F. Supp. 2d 568 (D.N.J. 2008) ....................................................................... 6

Ultramercial, Inc. v. Hulu, LLC,
   772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring) ............................6, 10, 17

Vanderhoef v. China Auto Logistics Inc.,
  Case No.: 2:18-cv-10174 (D.N.J. Aug. 31, 2020) ................................................ 6
Wireless Media Innovations, LLC v. Maher Terminals, LLC,
  100 F. Supp. 3d 405 (D.N.J. 2015) ...........................................................1, 15, 19
Statutes

35 U.S.C. § 101 .................................................................................................passim

Other Authorities

Fed. R. Civ. P. 12(b)(6).....................................................................................passim




                                                      v
 Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 6 of 28 PageID: 64




I.    NATURE AND STAGE OF PROCEEDINGS

      On March 16, 2023 Social Positioning Input Systems, LLC filed this lawsuit

accusing Defendant Pervasive Group, Inc. of infringing U.S. Patent No. 9,261,365.

In particular, Social Positioning accuses Pervasive’s MMGuardian Parental Control

application of infringement. In response, Pervasive files this Motion to Dismiss for

Failure to State a Claim along with its Answer, Affirmative Defenses and

Counterclaims.

II.   SUMMARY OF THE ARGUMENT

      Pervasive moves to dismiss Social Positioning’s Complaint pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure for failure to state a claim. The

claims of the asserted patent are invalid because they are directed to patent-ineligible

subject matter under 35 U.S.C. § 101. The claims of the ’365 Patent are directed to

the abstract idea of sharing address information. But sharing address information is

not a technological improvement, an inventive way of applying conventional

technology, or even new. See Wireless Media Innovations, LLC v. Maher Terminals,

LLC, 100 F. Supp. 3d 405 (D.N.J. 2015) (finding similar claims directed to the

abstract idea of “monitoring locations, movement, and load status of shipping

containers within a container-receiving yard, and storing, reporting and

communicating this information in various forms through generic computer

functions”) (emphasis added).



                                        1
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 7 of 28 PageID: 65




      The claims of the ’365 Patent are not directed to an improvement in computer

functionality. Rather, they are directed to “the use of conventional or generic

technology in a nascent but well-known environment.” In re TLI Commc’ns LLC

Patent Litig., 823 F.3d 607, 612, 614 (Fed. Cir. 2016) (“[H]ere we need to only look

to the specification, which describes the [components] as either performing basic

computer functions such as sending and receiving data, or performing functions

‘known’ in the art.”). No particular non-conventional component or programming is

either claimed or disclosed. Social Positioning’s patent does no more than describe

the basic idea of sending and receiving information related to addresses without

disclosing any novel application of that idea.

      Instead, the approach for sharing address information described in the ’365

Patent may be implemented using generic and conventional technology such as

“communication protocols or systems currently existing . . . for wirelessly

transmitting data.” ’365 Patent at 7:4-5. Indeed, the ’365 Patent’s specification

makes clear that it does not make use of any novel components. Id. at 5:67-6:2

(“[s]uch input devices are standard and currently available on many electronic

devices including portable digital assistants (PDAs) and cellular telephones.”); 6:19-

20 (“any other memory storage that exists currently”); id. at 7:20-21 (“conventional

code encryption algorithms currently in use”); id. at 8:10-12 (“identity detection

devices such as biometric devices are common and are currently widely in use”).



                                       2
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 8 of 28 PageID: 66




Therefore, the ’365 Patent is invalid under 35 U.S.C. § 101 for failure to claim

patent-eligible subject matter.

       Resolving these issues does not require discovery or formal claim

construction. To avoid waste of judicial and party resources unnecessarily litigating

invalid patents, Pervasive respectfully requests that the Court grant its motion to

dismiss for failure to state a claim. FED. R. CIV. P. 12(b)(6).

III.   STATEMENT OF FACTS

       The ’365 Patent, entitled “Device, system and method for remotely entering,

storing and sharing addresses for a positional information device,” issued on

February 16, 2016, from an application filed on September 9, 2009. The applicant

contends to have identified and solved problems associated with GPS devices which

store addresses locally. See id. at 1:46-2:25. The patent, however, merely

implements an abstract idea using conventional components and communication

systems that were known in the prior art.

       Independent claim 1 of the ’365 patent, which is representative, recites:


       1. A method for receiving location information at a positional

       information device, the method comprising:

             sending a request from a requesting positional information

             device to a server for at least one address stored in at least one




                                        3
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 9 of 28 PageID: 67




             sending positional information device, the request including a

             first identifier of the requesting positional information device;

             receiving at the requesting positional information device, from

             the server, a retrieved at least one address to the requesting

             positional information device wherein the server determines a

             second identifier for identifying the at least one sending

             positional information device based on the received first

             identifier and retrieves the requested at least one address stored

             in the identified at least one sending positional information

             device.

Id. at cl. 1.Claim 1 of the ’365 Patent is directed to a method of sharing addresses.

Methods for sharing addresses with GPS devices are generically described in the

specification. Id. at 8:23-34 (“system and method for remotely entering, storing and

sharing location address information will be described”) (emphasis added). The

embodiments described in the specification center on sharing address information.

See id. at 9:29-32 (“[i]n one embodiment, the customer service center includes a live

operator 303 that has access to server 304 for looking up address information and

transmitting the information to the device”) (emphasis added). The specification

also describes a situation in which “[a] driver of a vehicle needs assistance in

locating a point of interest such as a museum in a designated city.” Id at 12:27-28.


                                       4
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 10 of 28 PageID: 68




However, the applicant did not provide any technical details on how information is

shared beyond what was known in the prior art.

      In Claim 1, a requesting positional information device “send[s] a request . . .

for at least one address” to a server. The request includes “a first identifier” for

identifying the requesting positional information device. The server obtains the

requested address from a “sending positional information device.” The sending

positional information device is identified by a “second identifier.” The positional

information devices are understood to be GPS devices. See id. at Abstract (“a

positional information device, e.g., a global positioning system (GPS) device)

(emphasis added). In other words, Claim 1 recites a generic technique to establish a

communications link between one or more devices and transfer information. No

technical details are disclosed, much less claimed, as to how these processes are

accomplished. Claim 1 simply recites generic and well known hardware components

performing standard functions.

IV.   ARGUMENT

      A.    Legal Standard


            1.     This Case Should Be Disposed of Under Rule 12(b)(6)

      Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss

a complaint that fails to state a claim upon which relief can be granted. “Dismissal

under Rule 12(b)(6) is proper where the complaint fails to state a claim upon which

                                      5
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 11 of 28 PageID: 69




relief may be granted, such as where the plaintiff is unable to plead ‘enough facts to

state a claim to relief that is plausible on its face.’” McCracken v. Wells Fargo Bank

Na, 634 F. App’x 75, 4 (3d Cir. 2015) (citing Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570 (2007)). “Rule 12(b)(6) requires a district court to dismiss a complaint

if it fails to state a cognizable legal claim.” Ulferts v. Franklin Res., Inc., 554 F.

Supp. 2d 568, 572 (D.N.J. 2008). “A claim is facially plausible when it ‘allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.’” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotation marks omitted)). Here, the “Court must accept all well-pleaded factual

allegations in the complaint as true and draw all reasonable inferences in favor of

the non-moving party. Vanderhoef v. China Auto Logistics Inc., Case No.: 2:18-cv-

10174, at *3 (D.N.J. Aug. 31, 2020) (citing Phillips v. Cty. of Allegheny, 515 F.3d

224, 234 (3d Cir. 2008)). Conclusory statements are disregarded for purposes of

evaluating a complaint under Rule 12(b)(6). Simio LLC v FlexSim Software Products

Inc., 2020 WL 7703014, at *19 (Fed. Cir. Dec. 29, 2020).

      Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos,

561 U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the

pleadings stage if it is apparent from the face of the patent that the asserted claims

are not directed to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772

F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J., concurring). In those situations, claim



                                       6
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 12 of 28 PageID: 70




construction is not required to conduct a § 101 analysis. Bancorp Servs. L.L.C. v.

Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e perceive no flaw

in the notion that claim construction is not an inviolable prerequisite to a validity

determination under § 101.”).

             2.     The Law of 35 U.S.C. § 101

      Section 101 of the Patent Act sets forth four categories of patentable subject

matter: “any new and useful process, machine, manufacture, or composition of

matter.” 35 U.S.C. § 101. Also, the law recognizes three exceptions to patent

eligibility: “laws of nature, physical phenomena, and abstract ideas.” Diamond v.

Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract ideas are

ineligible for patent protection because a monopoly over these ideas would preempt

their use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract

intellectual concepts are not patentable, as they are the basic tools of scientific and

technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67

(1972)).

      Determining whether a patent claim is impermissibly directed to an abstract

idea involves two steps. First, the court determines “whether the claims at issue are

directed to a patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134

S. Ct. 2347, 2355 (2014). Second, if the claim contains an abstract idea, the court

evaluates whether there is “an ‘inventive concept’—i.e., an element or combination



                                       7
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 13 of 28 PageID: 71




of elements that is sufficient to ensure that the patent in practice amounts to

significantly more than a patent upon the ineligible concept itself.” Id. (internal

quotations and citations omitted).

      Transformation into a patent-eligible application requires “more than simply

stating the abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting

Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)).

Indeed, if a claim could be performed in the human mind, or by a human using pen

and paper, it is not patent-eligible. CyberSource Corp. v. Retail Decisions, Inc., 654

F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully limited if it

includes only token or insignificant pre- or post-solution activity—such as

identifying a relevant audience, category of use, field of use, or technological

environment. Mayo, 132 S. Ct. at 1297-98, 1300-01; Bilski, 561 U.S. at 610;

Diamond v. Diehr, 450 U.S. 175, 191-92 & n.14 (1981); Parker v. Flook, 437 U.S.

584, 595 n.18 (1978). Finally, “simply appending conventional steps, specified at a

high level of generality, to laws of nature, natural phenomena, and abstract ideas

cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at

1300; see also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323

(Fed. Cir. 2012) (“Such a broad and general limitation does not impose meaningful

limits on the claim’s scope.”).




                                       8
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 14 of 28 PageID: 72




      B.     The ’365 Patent is Invalid Under 35 U.S.C. § 101.

      Social Positioning’s Complaint should be dismissed. The claims of the ’365

Patent are invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice

test. Each of the claims is directed to the abstract idea of sharing address information.

Abstract ideas are not eligible for patenting. None of the claims contains an

“inventive concept sufficient to ensure that the patent in practice amounts to

significantly more than a patent upon the ineligible concept itself.” See Alice, 134

S. Ct. at 2355 (emphasis added). Because Social Positioning has failed to state a

claim upon which relief may be granted, Pervasive respectfully requests that the

Court grant its motion and dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).

             1.     Alice Step 1: The claims are directed to an abstract idea.

      In determining patent eligibility under § 101, the Court must first determine

whether the claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under

any plausible reading, the claims of the ’365 Patent are directed to an unpatentable,

abstract idea because they claim nothing more than the “longstanding,” “routine,”

and “conventional” concept of sharing address information. See Alice, 134 S. Ct. at

2356; Bilski, 561 U.S. at 611.


                    (a)    The ’365 Patent is directed to the abstract idea of
                           sharing address information.

      Claim 1 of the ’365 Patent is directed to the abstract idea of sharing address


                                        9
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 15 of 28 PageID: 73




information.1 Stripped of its generic terminology, the claim conceivably could cover

any generic process of sharing address information. This is especially true given the

purely functional nature of the claim language. For example, Claim 1 could cover

the following scenario: (1) requesting an address from another device via a server

(e.g., calling friend Alice to ask for friend Bob’s address); and then (2) receiving

address information from the other device via the server (e.g., Alice providing Bob’s

address). Such a broad concept is not patent eligible because it “recite[s] an

abstraction—an idea, having no particular concrete or tangible form.” Ultramercial,

772 F.3d at 715.

      Furthermore, the applicant’s purported invention is not limited to any

particular implementation. ’365 Patent at 4:16-20 (“it is to be understood the

principles of the present disclosure may be applied to any type of navigation or

positional information device including but not limited to a vehicle-mounted device,

a GPS receiver coupled to a desktop computer or laptop, etc”); id. at 9:25-29 (“Once

connected to the customer service center, the user can communicate with the



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  Asserted Claim 1 of the ’365 Patent is representative of all claims. See, e.g.,
Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP,
2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims after
analyzing only a few “representative claims” where the other claims were
“substantially similar” and “linked to the same abstract idea.”).Where claims are
“substantially similar and linked to the same abstract idea,” courts may look to
representative claims in a § 101 analysis. Content Extraction and Transmission LLC
v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014).


                                      10
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 16 of 28 PageID: 74




customer service center with voice communications or with a vehicle user interface

(VUI) including but not limited to keyboard, voice recognition, or mouse or

pointer”) (emphasis added)). The specification, coupled with the broad functional

language in Claim 1, confirms that Social Positioning’s claims do not describe how

to implement the allegedly claimed system, much less how to do so in any non-

conventional manner. See Internet Patents Corp. v. Active Network, Inc., 790 F.3d

1343, 1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-eligible

subject matter where “[t]he mechanism for maintaining the state is not described,

although this is stated to be the essential innovation”).

      Additionally, the applicant’s own characterizations demonstrate that the

claimed components do not “improve the functioning of the computer itself,” Alice,

134 S. Ct. at 2359, for example by disclosing an “improved, particularized method

of digital data compression,” DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d

1245, 1259 (Fed. Cir. 2014), or improving “the way a computer stores and retrieves

data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir.

2016). For example, in Enfish, the Federal Circuit distinguished the claims from

others that “simply add[ed] conventional computer components to well-known

business practices,” holding instead that “they [we]re drawn to a specific

improvement to the way computers operate.” Id. at 1336. In particular, the

unconventional structure of the database resulted in “increased flexibility, faster



                                       11
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 17 of 28 PageID: 75




search times, and smaller memory requirements.” Id. at 1337. Unlike Enfish, nothing

in the claims of the ’365 Patent shows any unconventional methodology that would

amount to a “specific improvement in the way computers operate.” Id. Therefore,

the focus of the ’365 Patents is not “on [a] specific asserted improvement in

computer capabilities” but instead “on a process that qualifies as an ‘abstract idea’

for which computers are invoked merely as a tool.” Id. at 1336. The “focus” of Claim

1, instead, is sharing address information:

         Claim Language                               Claimed Idea
1. A method for receiving
location information at a
positional information device,
the method comprising:
sending a request from a
requesting positional information
device to a server for at least one
address stored in at least one
                                              Requesting address information
sending positional information
device, the request including a
first identifier of the requesting
positional information device;
receiving at the requesting
positional information device,
from the server, a retrieved at
least one address to the
requesting positional information
device wherein the server
                                              Receiving address information
determines a second identifier
for identifying the at least one
sending positional information
device based on the received first
identifier and retrieves the
requested at least one address


                                      12
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 18 of 28 PageID: 76




stored in the identified at least
one
sending positional information
device.

      By only claiming the desired result in a functional manner (requesting and

receiving address information), Claim 1 of the ’365 Patent falls short of claiming

eligible subject matter under § 101. See Internet Patents, 790 F.3d at 1348; see also

Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016)

(holding that claims were directed to an abstract idea where they claimed “the

function of wirelessly communicating regional broadcast content to an out-of-region

recipient, not a particular way of performing that function”). And because the

claimed system are to be implemented without the use of any specialized hardware

or software components, the ’365 Patent risks preempting all automated methods or

systems for sharing address information. See, e.g., Loyalty Conversion Sys. Corp. v.

Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive

effect . . . broad” where “the claims [were] largely functional in nature, they [did]

not provide any significant description of the particular means by which the various

recited functions are performed,” and “[a]ll that [was] disclosed [was] the ultimate

objective”).




                                      13
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 19 of 28 PageID: 77




                    (b)    Courts have found similar claims to be directed to
                           patent-ineligible subject matter.


      Courts have found similar patent claims to be directed to abstract ideas.

Recently, the Federal Circuit held that “[c]ontrolling access to resources is exactly

the sort of process that ‘can be performed in the human mind, or by a human using

a pen and paper,’ which we have repeatedly found unpatentable.” Ericsson Inc. v.

TCL Commc'n Tech. Holdings, 955 F.3d 1317, 1327 (Fed. Cir. 2020). The claims

here are directed to the request and receipt of address information, and are thus

similar to the claims at issue in Ericsson, in that these are precisely the types of

activities that can be performed by a human without computers. For instance, a party

could call a first friend and ask for a second friend’s address. The first friend may

retrieve the address, and then provide it the requesting party. Because this process

can be performed in this fashion, the claims of the ’365 Patent are invalid under the

same rationale expressed by the Federal Circuit in Ericsson.

      Additionally, the Federal Circuit has held the following claims directed to

various acts of information or data acquisition and transfer (including, among others,

acquiring, analyzing, sending, receiving, and publishing data) to be directed to

abstract ideas under the Alice test:




                                       14
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 20 of 28 PageID: 78




        •   Claims directed to collecting information, even when such information

            is of a particular type. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d

            1350, 1353 (Fed. Cir.2016) (emphasis added).

        •   Claims directed to routing information using result-based functional

            language. Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874

            F.3d 1329, 1337 (Fed. Cir. 2017) (emphasis added);

        •   Claims directed to transmitting information about a mail object over

            a network using a personalized marking, Secured Mail Solutions LLC v.

            Universal Wilde, Inc., 873 F.3d 905, 908 (Fed. Cir. 2017) (emphasis

            added);

        •   A device used for recording a digital image, storing the digital image,

            and transferring the digital image to a server for further processing, In

            re TLI Commc’ns, 823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added).

      Furthermore, patents related to location information have been found to be

directed to the abstract idea of monitoring and communicating information. In

Wireless Media Innovations, for example, the court invalidated two patents for a

system and method of “monitoring locations, movement, and load status of shipping

containers within a container-receiving yard, and storing, reporting and

communicating this information in various forms through generic computer

functions.” 100 F.Supp.3d 405, 413 (D.N.J. 2015). This was an abstract idea,



                                     15
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 21 of 28 PageID: 79




according to the court, because these general monitoring and recording functions

“could be carried out by human memory, by hand, or by conventional equipment

and general purpose computer and printer resources.” Id. at 415; see also Joao

Control & Monitoring Sys., LLC v. Telular Corp., 173 F. Supp. 3d 717, 726, 2017

WL 1151052 (N.D. Ill. 2016) (claims found to be “directed to the abstract idea of

monitoring and controlling property and communicating this information through

generic computer functions”); MacroPoint, LLC v. FourKites, Inc., No. 15–cv–

1002, 2015 WL 6870118, at *3 (N.D. Ohio Nov. 6, 2015), aff’d, 671 Fed. Appx. 780

(“directed to the abstract idea of tracking freight”).

      The idea underlying Claim 1 of the ’365 Patent is just as abstract as those in

the Ericsson, Two-Way Media and Wireless Media Innovations claims. As explained

earlier, Claim 1 describes a common human activity that can be performed without

a computer or specialized equipment. Claim 1 does not include any specific

limitations or steps regarding a “specific structure” of computer components used to

carry out the abstract idea of sharing address information. Rather, Claim 1 uses

results-based functional language like “sending a request from a requesting

positional information device to a server” and “receiving at the requesting positional

information device, from the server, a retrieved at least one address” ’365 Patent at

Cl. 1. Claim 1 is abstract because it does “not sufficiently describe how to achieve

these results in a non-abstract way.” Two-Way Media, 874 F.3d at 1337 (holding



                                       16
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 22 of 28 PageID: 80




limitations requiring “sending” and “directing” of information “d[id] not sufficiently

describe how to achieve these results in a non-abstract way”). Claim 1 cannot be

meaningfully distinguished from the claims in either Ericsson, Two-Way Media, or

Wireless Media Innovations.


             2.      Alice Step 2: The claims do not contain an inventive concept
                     amounting to significantly more than the abstract idea.

      Because Claim 1 is directed to an abstract idea, the Court must next determine

whether it contains an “inventive concept sufficient to transform the claimed abstract

idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations

omitted). To pass this test, Claim 1 “must include additional features” that “must be

more than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d

at 715 (quotation omitted). Here, Claim 1 is broadly generic and does not contain

meaningful limitations that would restrict it to a non-routine, specific application of

the abstract idea.

      Although the stated goal of the ’365 Patent is to provide “remotely entering,

storing and sharing location addresses,” ’365 Patent at 2:47-48, not a single technical

improvement is disclosed, much less claimed. Instead, Claim 1 is described only at

a high level, consisting of generic functional language like “sending a request” and

“receiving . . . at least one address.” And, according to the specification, no




                                       17
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 23 of 28 PageID: 81




specialized hardware or software is needed to send and receive address information.

Id. at 8:23; 12:5.

      While the specification purports to describe the structure of an embedded

system capable of sharing address information, nothing in either Claim 1 or the

specification discloses how the “positional information device” must be configured

in any manner, much less an inventive one. Instead, the claim limitations simply list

generic hardware without any improvement in technology. See In re TLI, 87 F. Supp.

3d 773, 794 (holding that a “telephone unit limitation is another example of generic

hardware which does not save Claim 17 because it is not inventive”) (emphasis

added). And the specification fares no better, as the invention is described as “a

system and method of programming GPS units from a link on the Global Computer

Network (e.g., the Internet) is also provided.” ’365 Patent at 2:49-51. GPS units and

the Internet are not novel. See Rothschild Location Techs. LLC v. Geotab USA, Inc.,

No. 6:15-cv-682, 2016 WL 3584195, at *5, 7 (E.D. Tex. Jan. 4, 2016) (“A GPS

device is a well-known generic computer element insufficient to make otherwise

patent ineligible subject matter patentable.”). Further details are neither claimed nor

disclosed.

      There is simply nothing “inventive” about using known processes (e.g., the

Internet and/or wireless networks) to retrieve address information. See’365 Patent at

9:38-46 (the invention is “described in the context of the GSM mobile



                                       18
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 24 of 28 PageID: 82




telecommunications standard” but may “relate[] to all telephone standards including,

and not limited to CDMA and US-TDMA”). Moreover, the abstract functional

descriptions in Claim 1 are devoid of any technical explanation as to how to

implement the purported invention in an inventive way. See In re TLI, 823 F.3d at

615 (claims failed Alice’s step 2 where specification limited its discussion of

“additional functionality” of conventional components “to abstract functional

descriptions devoid of technical explanation as to how to implement the invention”).

Nothing in Claim 1 requires any inventive algorithm or data structure, much less an

improved computer component. See Wireless Media Innovations, 100 F. Supp. 3d

405, 416-417 (“[A]dding a computer to otherwise conventional steps does not make

an invention patent-eligible. Any transformation from the use of computers or the

transfer of content between computers is merely what computers do and does not

change the analysis.”).

      Courts have repeatedly held that the presence of generic hardware and

processing like the kind recited in Claim 1 of the ’365 Patent does not make an

otherwise abstract idea patent-eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765

F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer receives and sends the

information over a network—with no further specification—is not even arguably

inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept when

“[n]othing in the claims . . . requires anything other than conventional computer and



                                      19
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 25 of 28 PageID: 83




network components operating according to their ordinary functions”); Wireless

Media Innovations, 100 F. Supp. 3d 405, 416 (finding that the asserted claims “are

not tied to any particular novel machine or apparatus, only a general purpose

computer, general communication devices, and general vehicles,” and the “specific

system elements . . . merely require generic computer functions that are not

inventive.”); see also Bancorp, 687 F.3d at 1276-77. In addition, an “abstract idea

does not become nonabstract by limiting the invention to a particular field of use or

technological environment, such as [GPS Units].” Intellectual Ventures I LL v.

Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

      This case is thus unlike Berkheimer, where the Federal Circuit noted that the

specification explicitly “describe[d] an inventive feature that store[d] parsed data in

a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369

(Fed. Cir. 2018). The Federal Circuit examined whether the improvements described

in the specification were included in the claims. For those claims where the inventive

feature in the specification was “captured in the claims,” the Federal Circuit found a

“factual dispute regarding whether the invention describe[d] well-understood,

routine, and conventional activities.” Id. But where the claims did not recite the

purportedly inventive features described in the specification, the Federal Circuit

concluded that they were directed to patent ineligible subject matter under § 101. Id.

Here, in contrast, there is no need for fact discovery at all because neither the claims



                                       20
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 26 of 28 PageID: 84




nor the specification describes any unconventional components or the use of generic

components in some unconventional manner. The claims therefore fail Alice’s

second step because they contain no inventive features, and no amount of fact

discovery can change that.

      The recited limitations—whether considered individually or as an ordered

combination—are insufficient to add “significantly more” to the abstract idea.

Because it is altogether devoid of any “inventive concept,” Claim 1 of the ’365

Patent is thus patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359-60.


             3.     The remaining claims are dependent on Claim 1 and are also
                    abstract

      The remaining claims of the ’365 Patent relate to the same abstract concept of

sending and receiving information. The only differences are immaterial in the

context of a § 101 analysis. For example, claim 8 adds only conventional

components and broad functional language, for e.g., “a location information module

for determining location information of the requesting positional information

device.” Claim 8 is therefore directed to same abstract idea, and there is nothing that

adds significantly more to transform the ineligible concept. Alice, 134 S. Ct. at 2355-

2357. The dependent claims relate to (i) identifying information (dependent claims

2, 6, 9, and 13), (ii) type of information (dependent claims 3 and 10), and (iii) source

and display of information (dependent claims 4, 5, 7, 11, 12, 14, and 15). But


                                       21
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 27 of 28 PageID: 85




claiming variations related to the type and source of information is not inventive. So

too is the claims’ identification of additional generic components—particularly

because there is no disclosure of how any of the generic components (e.g., telematics

network) must be configured in any “inventive” manner to accomplish the desired

results. See Internet Patents, 790 F.3d at 1348.

      None of these additional features amounts to an inventive feature or renders

the claims any less abstract. Regardless of their form, therefore, all of the claims of

the ’365 Patent fail both prongs of Alice because they are directed to an abstract idea

and recite no inventive concept. Alice, 134 S. Ct. at 2355, 2357.

V.    CONCLUSION

      For the foregoing reasons, Pervasive respectfully requests that the Court

dismiss Social Positioning’s Complaint for failure to state a claim upon which relief

can be granted. Because leave to amend would be futile, Pervasive requests dismissal

with prejudice.



Dated: April 17, 2023                   By: Michael Zoppo
                                            Michael Zoppo




                                       22
Case 2:23-cv-01488-ES-AME Document 7 Filed 04/17/23 Page 28 of 28 PageID: 86




                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above and

foregoing document has been served on April 17, 2023, to all counsel of record who

are deemed to have consented to electronic service via the Court’s CM/ECF system.


                                         /s/ Michael Zoppo




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